Case 1:20-cv-01854-LTB-GPG Document 14 Filed 08/13/20 USDC Colorado Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-01854-LTB-GPG

  TAYLOR JADE HICKERSON,

        Plaintiff,

  v.

  GREENWAY FLATS,

        Defendant.


                                        JUDGMENT


        Pursuant to and in accordance with the Order entered by Lewis T. Babcock,

  Senior District Judge, on August 13, 2020, it is hereby

        ORDERED that Judgment is entered in favor of Defendant and against Plaintiff.

        DATED at Denver, Colorado, August 13, 2020.

                                                  FOR THE COURT,

                                                  JEFFREY P. COLWELL, Clerk



                                                  By: s/ Roman Villa,
                                                  Deputy Clerk
